                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

NORMA ROGERS, ARTHUR ROGERS,                      )
and WILLIAM HALE,                                 )
                                                  )
       Plaintiffs,                                )
                                                  )
v.                                                )   Case No. 6:19-cv-03346
                                                  )
DOUGLAS GASTON, JOHN DOES 1-3,                    )
and JANE DOES 1-3,                                )
                                                  )
       Defendants.                                )


                                  ENTRY OF APPEARANCE

       Under Local Rule 83.2, Kayla M. DeLoach moves to withdraw as counsel for Plaintiffs as

my employment by the American Civil Liberties Union of Missouri ends on September 14, 2021.

All other counsel for Plaintiffs entered on this matter remain.

                                                      Respectfully submitted,
                                                      /s/ Kayla M. DeLoach
                                                      Kayla M. DeLoach, #72424
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                                                      Attorney for Plaintiffs


                                  CERTIFICATE OF NOTICE

       I hereby certify that on September 14, 2021, the foregoing was filed electronically through

the Court’s electronic filing system to be served electronically on counsel for all parties.

                                                      /s/ Kayla M. DeLoach
                                                      Kayla M. DeLoach
                                                      Attorney for Plaintiffs




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